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                                                                                   U.S. DISTRICT COURT
                                                                                  DISTRICT OF VERMONT
                            UNITED STATES DISTRICT COURT                                  FILED
                                DISTRICT OF VERMONT
                                                                                 2016 APR 29 PH f: II

JONATHAN A. BLOOM,                                    )
                                                      )
                                                                                  BY      C~
                       Plaintiff,                     )
                                                                                       DEPUTY CLERK
                                                      )
                v.                                    )       Civil Action No.    5' ~ \\p -   CV - \   2. \
                                                      )
SYLVIA BURWELL in her official capacity               )
as Secretary, United States Department                )
of Health and Human Services,                         )
                                                      )
                       Defendant.                     )


                                          COMPLAINT

        Plaintiff, Jonathan A. Bloom, by his undersigned counsel, brings this action for judicial

review of final agency decisions of Defendant Sylvia Burwell, in her official capacity as

Secretary of the United States Department of Health and Human Services, and states as follows:

                                      Preliminary Statement

        1. This action arises under Title XVIII ofthe Social Security Act, 42 U.S.C. §§1395 et

seq. ("the Medicare Act"), and the Administrative Procedure Act ("APA"), 5 U.S.C. §§551 et

seq. Plaintiff, Jonathan Bloom, seeks judicial review of a final decision of Defendant, the

Secretary ("the Secretary") ofthe Department of Health and Human Services ("HHS"), denying

Medicare payment for claims relating to a continuous glucose monitor.

        2. Dr. Bloom has had Type I diabetes for over 40 years, which despite being

consistently conscientious in following nutritional instructions, regularly exercising, performing

frequent self-monitoring (six or more times daily), and following a comprehensive insulin

administration regimen for his diabetes, his glucose levels still remain uncontrolled, i.e.,

"brittle."
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        3. Continuous glucose monitoring is the standard of care for individuals suffering from

brittle diabetes.

        4. Dr. Bloom was prescribed a continuous glucose monitoring device ("CGM") before

he became eligible for Medicare.

        5. Because CGM is the standard of care and is recognized as durable medical

equipment, Dr. Bloom's commercial insurance company covered it for at least three years.

        6. A National Coverage Determination ("NCD") is a determination by the Secretary

regarding coverage that exists nationally. NCD 40.2 provides Medicare coverage for home

blood glucose monitors for Medicare beneficiaries who suffer from diabetes.

        7. In 2008, National Health Insurance Corporation ("NHIC") issued a local coverage

determination ("LCD") L 11530, indicating that blood glucose monitors and related accessories

and supplies would be covered when (1) a patient had diabetes which was being treated by a

physician; (2) the patient's physician states the patient is capable of using the device; and (3) the

device is designed for home use rather than clinical use.

        8. The NHIC LCD did not indicate that the CGM was not covered.

        9. However, NHIC issued an informal communication known as an "Article" stating

that NHIC considers CGM to be "precautionary."

        10. The denials at issue in this action first arose when NHIC denied claims for Dr.

Bloom's transmitter and sensors for his CGM on the basis they were convenience items.

        11. Dr. Bloom appealed these denials through the multi-step Medicare Part B appeals

process, ultimately filing appeals deemed timely with the Medicare Appeals Council ("AC").




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       12. The exhaustion of the Medicare appeals process took over a year and has resulted in

inconsistent and unsupported decisions by the AC, which are the Secretary's final decisions for

purposes of judicial review.

       13. Plaintiff seeks an order reversing these coverage denials and instructing the Secretary

to pay the claims at issue in accordance with applicable law. The decisions at issue are arbitrary

and capricious, not supported by the evidence or Medicare law, regulation or guidance, and are

inconsistent with the medical records and the medical standard of care.

                                        Jurisdiction and Venue

       14. The Court has subject matter jurisdiction under 42 U.S.C. §§405(g) and 1395ff(b)

(appeal of final Medicare program agency decision) and under 28 U.S.C. §§ 1331 (federal

question).

       15. Venue lies in this judicial district under 42 U.S.C. §§405(g) and 1395ff(b) and 28

U.S.C. §1391(e).

       16. Timely judicial review is being sought for a decision rendered by the Secretary. See

42 C.F.R. §405.1130 and §405.1134; see also Exhibits 1 & 2.

                                              Parties

       17. Jonathan Bloom is a Medicare beneficiary residing in South Burlington, Vermont,

who is seeking Medicare coverage of his claims for CGM sensors and a transmitter.

       18. Dr. Bloom has been a Medicare beneficiary since at least January 1, 2010.

       19. Plaintiff brings this action, which is an appeal of the Secretary's final decisions

denying Medicare claims for a CGM transmitter and sensors.

       20. Defendant Sylvia Burwell is the Secretary ofHHS, the federal department which

contains the Centers for Medicare & Medicaid Services ("CMS"). The Secretary, the federal




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official responsible for administering the Medicare Program, has delegated that responsibility to

CMS.

                                       Factual Background

        A.      General Background of the Medicare Program

        21. The Medicare Act establishes a program of health insurance for the aged, disabled,

and individuals afflicted with end-stage renal disease. See 42 U.S.C. §§ 1395 -1395ccc; 42

C.F.R. Parts 400- 1004. Medicare includes Parts A through D. This action arises under Part B

(covering basic non-hospital medical needs).

        22. Under 42 U.S.C. §1395hh(a)(l), the Secretary is required to "prescribe such

regulations as may be necessary to carry out the administration" of the Medicare program. That

statute also states:

        No rule, requirement, or other statement of policy (other than a national coverage
        determination) that establishes or changes a substantive legal standard governing
        the scope of benefits, the payment for services, or the eligibility of individuals,
        entities, or organizations to furnish or receive services or benefits under this title
        shall take effect unless it is promulgated by the Secretary by regulation under
        paragraph (1). U.S.C. §1395hh(a)(2).

        23. The Secretary has elected to publish many rules implementing the Medicare program

in various manuals, such as the Medicare Program Integrity Manual ("MPIM") and the Medicare

Claims Processing Manual ("MCPM"). However, under 42 U.S.C. §1395hh(a)(2), these manual

provisions, which are not promulgated in accordance with the notice and comment provisions of

the AP A, are not effective to the extent that any of them "establishes or changes a substantive

legal standard governing the scope of benefits, the payment for services, or the eligibility of

individuals, entities, or organizations to furnish or receive services or benefits" under Medicare.




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          B.       Medicare Coverage and Payment of DMEPOS

          24. Medicare Part B provides for coverage and payment for "medical and other health

services," which includes durable medical equipment prosthetics, orthotics and supplies

("DMEPOS") provided to Medicare beneficiaries. See 42 U.S.C. §§1395k(a) and 1395x(n) and

(s). To be paid by Medicare, medical devices and supplies must be found to be "reasonable and

necessary for the diagnosis or treatment of illness or injury or to improve the functioning of a

malformed body member." See 42 U.S.C. §1395y(a).

          25. Medicare adopts the FDA's determination of the safety and effectiveness of a medical

device.

          26. Durable medical equipment ("DME") is defined at 42 C.F.R. §414.202. DME (1) can

withstand repeated use; (2) is primarily and customarily used to serve a medical purpose; (3)

generally not useful to an individual in the absence of an illness or injury; and (4) appropriate for

home use.

          27. MCPM Ch. 15, § 110.l(B)(2) reiterates these requirements.

          28. DMEPOS is categorized by CMS pursuant to the Healthcare Common Procedure

Coding System ("HCPCS") and is assigned an alpha-numeric code consisting of a letter and a

four-digit number. Some items ofDMEPOS are assigned a unique HCPCS code. To obtain a

unique code, a medical device or supply must achieve sufficient volume, i.e., adoption within the

medical community. See www.cms.hhs.gov/MedHCPCSGenlnfo/Downloads/decisiontree.pdf.

          29. If Medicare covers a piece ofDME, it also covers the supplies necessary for the

effective use of the DME.

          30. Claims for Medicare payment for DMEPOS items supplied to Medicare beneficiaries

are presented to DME Medicare Administrative Contractors ("DMACs"). DMACs adjudicate




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these claims as agents of the Secretary pursuant to contracts with her. The country is divided

into four geographic jurisdictions, each of which has its own DMAC. A DMEPOS supplier must

submit each of its claims to the DMAC having jurisdiction for reimbursement ofthat claim. See

42 C.P.R. §424.32.

        31. After a claim has been submitted to the appropriate DMAC, the DMAC must

determine if the item is covered or otherwise reimbursable under the Medicare Act. See 42

C.P.R. §405.920.

        C.      Medicare Coverage and Glucose Monitoring

        32. A National Coverage Determination ("NCD") is "a determination by the Secretary of

whether a particular item or service is covered nationally under Medicare." See 42 C.P.R.

§405.1 060(a)(l ).

        33. An NCD is binding on all Medicare contractors, including administrative law judges

("ALJs") and the AC. See 42 C.P.R. §405.1060(a)(4).

       34. NCD 280.1, Durable Medical Equipment Reference List, reflects the Secretary's

determination of items that she deems to be DME. NCD 280.1 includes blood glucose monitors.

       35. To further ensure coverage of diabetic testing equipment and supplies, in 2006, the

Secretary issued the current effective version of an additional NCD providing Medicare coverage

for blood glucose monitors. See Medicare National Coverage Determinations Manual §40.2,

Home Blood Glucose Monitors (hereinafter "NCD 40.2").

       36. Under NCD 40.2, a home blood glucose monitor, and therefore related supplies, is

covered when:

             a. The patient has been diagnosed as having diabetes;




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            b. The patient's physician states that that the patient is capable of being trained to

                 use the particular device prescribed in an appropriate manner; and

            c.   The device is designed for home rather than clinical use. Id.

        37. Neither NCD 280.1 nor 40.2 distinguishes between single use glucose monitors or

continuous use glucose monitors.

        38. In addition to an NCD, MACs, including DMACs, can issue local coverage

determinations ("LCDs").

        39. LCDs are issued after consideration of the peer-reviewed literature, consultation with

the relevant medical community, notice and comment. See Medicare Program Integrity Manual

("MPIM") Ch. 13, §13.7.

        40. When the ALJ is rendering a decision, although not bound by an LCD, an ALJ must

give deference to an LCD. See 42 C.F.R. §405.1 062. If an ALJ does not give deference to an

LCD, the ALJ must explain why he or she did not.

        41. In 2008, National Government Services ("NHIC") issued LCD L11530 indicating

that blood glucose monitors and related accessories and supplies would be covered when (1) a

patient had diabetes which was being treated by a physician; (2) the patient's physician states the

patient is capable of using the device; and (3) the device is designed for home use rather than

clinical use.

        42. The NHIC LCD did not and does not indicate that a CGM and related accessories and

supplies were not and are not a Medicare covered benefit. The NHIC LCD includes the HCPCS

codes associated with a CGM and its supplies.

        43. Articles are informal communications issued by MACs and may be issued without

consultation with the relevant medical community or the peer reviewed literature. Articles are




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not subject to challenge by providers or beneficiaries, and are not entitled to any deference by

either the QIC or ALJ. See 42 C.F.R. §405.1062.

       44. Articles are not binding on ALJs, the AC, or other Medicare contractors. See, e.g., In

the Case ofThe Rehabilitation Center, Inc., ALJ Appeal No. 1-801426411, M-2012-328

(Medicare Appeals Council, Feb. 24, 2012).

       45. Congress has made clear that enabling Medicare beneficiaries suffering from diabetes

to manage and control their condition can reduce the complications from the disease and costs

(e.g., hospital and emergency room visits) to the Medicare program.

       46. The Secretary has made numerous public pronouncements and engaged in various

initiatives exhorting Medicare beneficiaries to control their diabetes to prevent diabetic

complications and the attendant costs to the Medicare program.

       D.      The Process for Appeals of Medicare Claims Decisions

       47. Congress has established a five-step process for a Medicare beneficiary, such as Dr.

Bloom, to follow to obtain judicial review when he is dissatisfied with the initial determination

of a claim by the DMAC.

       48. The first step in the process is request for redetermination by the DMAC. See 42

C.F.R. §§405.940 through 405.958.

       49. Upon a request for redetermination, the DMAC is required to adjudicate a claim and

render a decision based on the evidence in the record. See 42 C.F.R. §405.954. Under 42 C.F.R.

§405.956(b), the redetermination notice issued by the DMAC must include, inter alia, a

summary of the evidence used in making the redetermination; an explanation of relevant laws,

regulations, coverage rules, CMS policies that apply to the case; and a summary of the rationale

for the redetermination in clear, understandable language. See 42 C.F.R. §405.956(b).




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       50. A Medicare beneficiary who is dissatisfied with a DMAC's redetermination decision

may request reconsideration by the DME qualified independent contractor ("QIC"). See 42

C.P.R. §405.960. The QIC is required to review the record of the claims and issue a

reconsideration decision having the same decision elements as the DMAC's redetermination

decision. See 42 C.P.R. §405.976(b).

       51. A Medicare beneficiary may appeal the QIC reconsideration decision by requesting a

hearing before an Administrative Law Judge ("ALJ"). See 42 C.P.R. §405.1000.

       52. ALJs are bound to follow an NCD. See 42 C.P.R. §405.1060(a)(4).

       53. In contrast to an NCD, local coverage determinations ("LCDs") issued by MACs,

including DMACs, are not binding on an ALJ. See 42 C.P.R. §405.1062(a).

       54. When the ALJ is rendering a decision, although not bound by an LCD, if an ALJ

applies an LCD, the ALJ must apply the LCD in place on the date the item or service was

provided. See 42 C.P.R. §405.1034.

       55. Articles, which are informal communications issued by MACs, may be issued

without consultation with the relevant medical community. Articles are not subject to challenge

by providers or beneficiaries, and are not entitled to any deference by either the QIC or ALJ. See

42 C.P.R. §405.1062.

       56. Pursuant to the statute and Medicare regulations, an ALJ should render a decision

within 90 days of a request for an ALJ hearing. 42 U.S.C. §1395ff(d)(l)(a); 42 .C.P.R

§405.1 016(a).

       57. If an ALJ issues an unfavorable decision, a Medicare beneficiary may appeal the

decision to the AC.




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        58. If an ALJ issues a favorable decision, the AC may review the case by its own motion,

a process frequently initiated by an appeal of a favorable decision by CMS or any of its

contractors through a referral of the case to the AC. See 42 C.F.R. §405.1110(a); 42 C.F.R.

§405.1110(b).

        59. An NCD is binding on the AC and the AC limits its review to the evidence contained

in the record before the ALJ. See 42 C.F.R §405.1122(a)(1).

        60. Pursuant to the statute and Medicare regulations, the AC should render a decision

within 90 days of a request for AC review. See 42 U.S.C. §1395(d)(2)(a); 42 C.F.R.

§405 .11 00( c).

        61. The AC's decision becomes the Secretary's decision and is the final agency decision

for purposes of judicial review. See 42 C.F.R. §405.1136(d).

        62. A Medicare beneficiary seeking judicial review of the Secretary's final decision may

file a complaint "in the district court of the United States for the judicial district in which the

party resides or where such individual, institution, or agency has its principal place of business."

See 42 C.F.R. §405.1136; see also 42 U.S.C. §§405(g) and 1395ff(b).

        E.         The Process for Challenging an LCD

        63. Medicare regulations also provide a mechanism for a Medicare beneficiary to file a

challenge against an LCD. See 42 C.F.R. §426.400 et seq.

        64. The LCD challenge process is independent from the claims appeal process and is

conducted by an ALJ who is a member of the Civil Remedies Division of the Departmental

Appeals Board ofthe Department of Health and Human Services (the "Board"). See 42 C.F.R.

§426.31 0.




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       65. When a Medicare beneficiary files an LCD challenge, the relevant MAC is required

to produce any information that the MAC considered when drafting an LCD, including scientific

articles, technology assessments, clinical guideless and statements from clinical experts (the

"LCD Record"). See 42 C.F.R. §426.418.

       66. The ALJ reviews the evidence submitted by the MAC and applying the

reasonableness standard, determines whether the LCD Record is complete and adequate to

support the validity of the LCD. See 42 C.F.R. §426.425(c).

       67. If the ALJ determines the LCD is not valid under the reasonableness standards, the

MAC must provide individual consideration for the claim that gave rise to the LCD challenge,

and all subsequent claims for the same device or service, without using the LCD or LCD

provisions found to be invalid. See 42 C.F.R. 426.460(b)(1).

                           Statement of Facts and Prior Proceedings

       A.      Continuous Glucose Monitoring and Brittle Diabetes

       68. Unfortunately, despite consistently and conscientiously following nutritional

instructions, regularly exercising, performing frequent self-monitoring (six or more times daily),

and following a comprehensive insulin administration regimen for their diabetes, some

individuals still have uncontrolled glucose levels. Such individuals suffer from "brittle

diabetes."

       69. Such individuals suffer from hypoglycemic unawareness, i.e., they are unaware of an

impending, dangerous low drop in blood glucose. Hypoglycemic unawareness may result in

prolonged and profound exposure to hypoglycemia, resulting in seizure, loss of consciousness

and brain damage.




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       70. Individuals suffering from brittle diabetes often have frequent nighttime

hypoglycemic episodes which causes a progressive loss of mental function and death.

       71. Approximately one in 20 apparently healthy individuals suffering from type one

diabetes will die in their sleep from an unknown cause which is widely believed to be associated

with a hypoglycemic low. This is known as "dead in bed syndrome."

       72. CGM alerts a person suffering from brittle diabetes of both hypo- and hyperglycemic

episodes, which can occur at a frequency that would confound any attempt to manage through

simple finger-stick blood glucose checks.

       73. CGM operates by measuring the interstitial fluid under the skin which, as the device

name implies, continuously tracks with and reflects the glucose concentration in the blood.

       74. CGM is a physician-prescribed, FDA-approved medical device.

       75. CGM is used solely by individuals with diabetes to aid in the treatment of their

disease.

        76. CGM has been recognized as the standard of care for individuals suffering from

brittle diabetes nationally and internationally.

       77. Medical consensus statements/guidelines reflecting CGM as the standard of care for

brittle diabetics have been issued by the American Association of Clinical Endocrinologists

Consensus Panel on Continuous Glucose Monitoring (which has recommended CGM since at

least 2007); the American Diabetes Association (which has included the CGM in its

recommendation since at least 2009); the Endocrine Society; the German Diabetes Association

(which reviews the favorable consensus statements of many European nations); various French

Endocrinology and Diabetic Societies; the European Society for Pediatric Endocrinology, the

Pediatric Endocrine Society and the International Society for Pediatric and Adolescent Diabetes.




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       78. The American Medical Association passed a resolution in support of CGM coverage

for Medicare beneficiaries.

       79. The consensus of medical opinion regarding the safety and effectiveness ofCGM for

individuals suffering from brittle diabetes is supported by at least nine peer-reviewed

publications reflecting randomized, controlled clinical trials.

       80. Based on the consensus statements, peer-reviewed literature and widespread

acceptance of CGM for brittle diabetics, more than 95% of commercial insurers cover CGM.

       81. An independent federally-funded technology assessment found CGM reasonable and

medically necessary for individuals suffering from brittle diabetes. See the Agency for Health

Care Research and Quality ("AHRQ") report of2010 (AHRQ at 102-103, 105).

       B.      The Proceedings Below Relating to the Claims at Issue in this Action

       82. This is an action for judicial review ofthe final administrative decision of the

Secretary with ALJ Appeal1-2911738005 and 1-2838936764, AC M-15-4332 (issued February

24, 2016); and ALJ Appeal1-3178475308, AC M-15-1505 (issued November 13, 2015). See

Exhibits 1 & 2.

       83. Dr. Bloom has had Type 1 diabetes for over 40 years.

       84. Despite frequent testing, he was unable to gain control of his diabetes. He also

suffers from hypoglycemia and hypoglycemic unawareness.

       85. Accordingly, his healthcare provider prescribed him a continuous glucose monitor,

which checks Dr. Bloom's glucose approximately 288 times a day and alerts him when he is

experiencing a hypoglycemic event.

       86. Dr. Bloom's healthcare provider attested that CGM was and is reasonable and

medically necessary for Dr. Bloom to control his diabetes.




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           87. With CGM, Dr. Bloom had a vast clinical improvement of his blood glucose level

control.

           88. Dr. Bloom filed claims for the related sensors and a transmitter for his CGM which

were denied by NHIC on the basis they were convenience items.

           89. Before the decisions at issue, Dr. Bloom had received multiple favorable

determinations from multiple ALJs finding CGM to be reasonable and necessary for Dr. Bloom.

See ALJ Appeal1-801593711; ALJ Appeal 1-946049364; ALJ Appeal1-1779943353; ALJ

Appeal1-2381371020. See Exhibits 3-6.

       90. With respect to the claims at issue in this case, Dr. Bloom appealed the denials

through the Medicare administrative appeal process.

       91. Dr. Bloom filed timely requests for an ALJ hearing.

       92. ALJ hearings were conducted on March 31,2015 before Judge Jarboe (ALJ Appeal

1-2838936764); March 31,2015 before Judge Dorman (ALJ Appeal No. 1-2911738005); and

June 16,2015 before Judge Engelman (ALJ Appeal No. 1-3178475308).

       93. Dr. Bloom submitted letters from his healthcare providers attesting to the fact that

CGM was not precautionary but was medically necessary and essential for Dr. Bloom.

       94. The providers explained that Dr. Bloom's medical need for CGM is extreme.

       95. Dr. Pratley noted that CGM is essential for Dr. Bloom given persistent and frequent

hypoglycemic episodes (April 29, 2009 letter).

       96. Although Medicare ALJs may retain a clinical and scientific expert to facilitate their

understanding ofthe case, the ALJs did not retain such an expert in these cases.

       97. ALJ Engelman issued a favorable ALJ decision (ALJ Appeal No. 1-3178475308),

and the other ALJs issued unfavorable decisions. See Exhibit 7.




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       98. Dr. Bloom appealed the unfavorable ALJ decisions to the AC.

       99. On August 21, 2015, the Medicare Administrative Qualified Independent Contractor

("AdQIC"), Q2 Administrators, LLC filed a Referral on ALJ Appeal No. 1-3178475308,

requesting that the AC review the ALJ Engelman's favorable decision.

       100.    While Dr. Bloom was pursuing his claims through the Medicare claims appeal

process, on December 2014, an unrelated Medicare beneficiary filed a challenge to the provision

in the NHIC Article that asserted CGM was precautionary.

       101.    NHIC was required to produce all information upon which NHIC determined

CGM was precautionary. NHIC did not produce a single peer-reviewed publication or proffer

the testimony of a single medical professional expert in support of its assertion that CGM was

precautionary. In fact, NHIC submitted no evidence for consideration.

       102.    On September 11,2015, Judge Sickendick ofthe DAB Civil Remedies Division

found that under a reasonableness analysis, the Article provision asserting that CGM was

precautionary was not supported by the LCD Record. See CRD Docket No. C-15-1 021.

       103.    Judge Sickendick also found that CGM met the statutory definition ofDME.

       104.    On February 24, 2016, the AC affirmed the ALJ's denial ofMedicare coverage of

the CGM transmitter and sensors in the consolidated case ofM-15-4332 (ALJ Appeal Nos. 1-

2911738005 & ALJ Appeal No. 1-2838936764) (the "4332 Decision"). On November 13, 2015,

the AC reversed the ALJ's approval ofthe CGM sensors at issue in ALJ Appeal No. 1-

3178475308, M-15-1505 (the "1505 Decision") (collectively, the "Decisions"). See Exhibits 1

& 2.




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        105.   Without support, and ignoring Judge Sickendick's explicit findings, the AC found

that the CGM is simply precautionary, does not serve a medical purpose, and therefore the CGM

transmitter and sensors are not covered under the DME Medicare benefit.

        106.   The Secretary stated that because CGM does not substitute for fingersticks and

does not directly measure blood glucose, CGM "merely provides an added precaution" and does

not "serve a primary medical purpose."

        107.   The Secretary compared CGM to "spare tanks" of oxygen.

        108.   The Secretary's Decisions are contrary to the overwhelming medical and

scientific evidence; and are contrary to her own determinations in regarding the evidence

supporting CGM.

                                      Count I
   Arbitrary and Capricious and Unsupported by Substantial Evidence Under the APA
         (CGM is Medically Necessary Medical Equipment for Type 1 Diabetes)

        109.   Plaintiff hereby incorporates by reference paragraphs 1 to 108 herein.

        110.   Under the Medicare statute, 42 U.S.C. §1395ff(b), the final agency decision

included in this action is subject to judicial review. Under the APA, the reviewing court shall set

aside the final agency decision if, inter alia, it is contrary to law, arbitrary and capricious, an

abuse of discretion, or unsupported by substantial evidence in the record.

        111.   To the extent that the Secretary's Decisions in this action found that CGM and its

related supplies are precautionary and do not serve a medical purpose and therefore not

reasonable and medically necessary, the Secretary's decisions must be set aside because they are

contrary to law, arbitrary, capricious, and unsupported by substantial evidence in the record.

        112.   Further, to the extent that the Secretary's Decisions in this action found that CGM

and its related supplies are not durable medical equipment and therefore not reasonable and




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medically necessary, the Secretary's decisions must be set aside because they are contrary to law,

arbitrary, capricious, and unsupported by substantial evidence in the record.

        113.    CGM is recognized nationally and internationally by clinicians, researchers, and

payers, as a reasonable and medically necessary medical device which has become the standard

of care for individual suffering from Type 1 diabetes with hypoglycemic unawareness.

        114.   The FDA approved CGM as a safe and effective medical device and it is

prescribed by a physician.

        115.   Based on the foregoing, Plaintiff asks the Court to reverse the Secretary's

Decisions and issue an order finding that the CGM is not precautionary and is reasonable and

medically necessary for Dr. Bloom, and direct the Secretary to make appropriate payment for the

transmitter and sensors for the device that are the subject of this case.

                                       Count II
   Arbitrary and Capricious and Unsupported by Substantial Evidence Under the APA
         (The Decisions Are Contrary to the Secretary's Other Determinations)

        116.   Plaintiff hereby incorporates by reference paragraphs 1 to 115 herein.

        117.   Under the Medicare statute, 42 U.S.C. § 1395ff(b), the final agency decisions

included in this action is subject to judicial review. Under the AP A, the reviewing court shall set

aside the final agency decision if, inter alia, it is contrary to law, arbitrary and capricious, an

abuse of discretion, or unsupported by substantial evidence in the record.

        118.   To the extent that the Secretary's Decisions in this action found that CGM and its

related supplies are precautionary and therefore not covered under the Medicare durable medical

benefit, the Secretary's Decisions must be set aside because they are contrary to law and

arbitrary and capricious, an abuse of discretion and not supported by substantial evidence.




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        119.   The Secretary repeatedly has determined CGM is durable medical equipment

covered under the Medicare DME benefit and is reasonable and medically necessary for

Medicare beneficiaries suffering from Type 1 diabetes with hypoglycemic unawareness.

        120.   The Secretary repeatedly has determined CGM is DME and is reasonable and

medically necessary for Dr. Bloom based on the same information which she now deems not to

support Medicare coverage ofCGM for Dr. Bloom.

        121.   Based on the foregoing, the Secretary's Decisions are contrary to Medicare

regulations, arbitrary and capricious, and unsupported by substantial evidence in the record, and

Plaintiff asks the Court to reverse the Secretary's Decisions and issue an order finding that the

CGM is reasonable and medically necessary for Dr. Bloom, and direct the Secretary to make

appropriate payment for the transmitter and sensors for the device that are the subject of this

case.

                                         Count III
                           Violation of AP A as Contrary to Law
          (The Decisions Are Contrary to the Act, NCDs, the LCD and Regulations)

        122.   Plaintiffhereby incorporates by reference paragraphs 1 to 121 herein.

        123.   The Secretary's Decisions in this action must be set aside because they are

contrary to law, arbitrary, capricious, and unsupported by substantial evidence in the record.

        124.   The Secretary's findings that CGM is precautionary and not primarily medical,

not DME and not covered by Medicare, are contrary to Section 1861(n) ofthe Act and the

Secretary's determinations reflected in NCDs 280.1 and 40.2 which provide national coverage

for glucose monitors.

        125.   Further, the Secretary's Decisions are contrary to the LCD, which provides

coverage criteria for glucose monitors and which Mr. Bloom satisfied.




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       126.    Further, to the extent the Secretary deems COM not to be DME, that finding is

inconsistent with the regulatory DME definition cited in her Decisions.

       127.    Based on the foregoing, Plaintiff asks the Court to reverse the Secretary's

Decisions as contrary to law, as arbitrary, capricious and unsupported by the evidence, and issue

an order finding that the COM and its related supplies are eligible for coverage under the Act,

NCD 280.1, NCD 40.2, and Medicare regulations, and reasonable and medically necessary for

Dr. Bloom.

                                          Count IV
                               Contrary to Law Under the AP A
                              (Improper Deference to an Article)

       128.    Plaintiffhereby incorporates by reference paragraphs 1 to 127 herein.

       129.    To the extent that the Secretary's Decisions are premised on giving deference to

an NHIC Article, which is not an LCD and is not entitled to deference, the Secretary's Decisions

must be set aside because they are contrary to law, regulation and arbitrary and capricious, and

not supported by substantial evidence.

       130.    The Secretary provided no basis for giving deference to an Article, declining to

follow her NCDs, the relevant LCD, or acknowledging that even if the Article applied, it should

not be given deference in view of Dr. Bloom's uncontested dire need for COM to avoid life-

endangering glucose swings.

       131.    The Secretary provided no basis for applying the Article which has been found

not supported by clinical and scientific evidence.

       132.    Based on the foregoing, Plaintiff asks the Court to reverse the Secretary's

Decisions and issue an order finding that the Secretary's deference to an Article was contrary to

law, arbitrary and capricious and unsupported by substantial evidence, and that COM and its




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related supplies are reasonable and medically necessary for Dr. Bloom, and order the Secretary

to make payment on the claims at issue and any future claims for Dr. Bloom's CGM and

supplies.

                                         Requested Relief

WHEREFORE, Plaintiff requests:

       1. An order setting aside the Secretary's Decisions that the CGM, and therefore its

             transmitter and sensors, are precautionary and not primarily medical, and therefore

             not covered by Medicare;

       2. An order declaring CGM and its related supplies are eligible for Medicare coverage

             under the DMEPOS benefit;

       3. An order remanding this action to the Secretary with instruction to cover Dr. Bloom's

             CGM transmitter and sensors as reasonable and medically necessary and any future

             claims for CGM and its supplies;

       4. An order that this Court will retain jurisdiction over the decisions at issue until the

             Secretary's payment of the claims at issue has been completed;

       5. An order awarding legal fees and costs of suit incurred by Plaintiff; and

       6. Such other relief as this Court may deem and consider appropriate.




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Dated at Burlington, Vermont this 291h day of April, 2016.


                             Respectfully submitted,


                                     JONATHAN A. BLOOM



                                     By:
                                            Craig S olan, Esq.
                                            SHEEHEY FURLONG & BEHM P.C.
                                            30 Main Street
                                            P.O. Box 66
                                            Burlington, Vermont 05402-0066
                                            (802) 864-9891
                                            cnolan@sheeheyvt.com


                                            Debra M. Parrish, Esq. (pro hac vice
                                            papers to be filed)
                                            Bridget M. Noonan, Esq. (pro hac vice
                                            papers to be filed)
                                            PARRISH LAW OFFICES
                                            788 Washington Road
                                            Pittsburgh, PA 15228
                                            (412) 561-6250
                                            debbie@dparrishlaw.com
                                            bridget@dparrishlaw.com

                                            Attorneys for Plaintiff




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